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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-153 (RBW)
                                     )
DANIEL GOODWYN,                      )
                                     )
                  Defendant.         )
____________________________________ )

                                            ORDER

       In accordance with the oral rulings issued by the Court at the hearing held on June 3,

2021, via videoconference, it is hereby

       ORDERED that the parties shall appear before the Court for a status hearing on

August 5, 2021, at 10:00 a.m, via videoconference. It is further

       ORDERED that, with the consent of both the defendant and the government, the time

from June 3, 2021, to August 5, 2021, is excluded under the Speedy Trial Act, in light of the

facts that (1) the government requires additional time to produce discovery to the defendant, and

(2) the defendant and his counsel require time to review that discovery.

       SO ORDERED this 4th day of June, 2021.




                                                     REGGIE B. WALTON
                                                     United States District Court Judge
